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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ILLINOIS
                                          EAST ST. LOUIS
Deborah Floyd, individually and on behalf of all            3:21-cv-00525-SPM
others similarly situated,
                                  Plaintiff,

                    - against -

Pepperidge Farm, Incorporated,
                                  Defendant



                         Plaintiff’s Memorandum in Opposition to
                        Defendant’s Motion to Dismiss the Complaint
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                                       INTRODUCTION

       Plaintiff Deborah Floyd (“Plaintiff”) submits this Memorandum of Law in Opposition to

the Motion by Defendant Pepperidge Farm, Incorporated (“Defendant” or “Pepperidge Farm”) to

dismiss the Complaint (“Compl.”). ECF No. 1.

       Plaintiff brings claims for damages for violations of the Illinois Consumer Fraud and

Deceptive Business Practices Act (“ICFA”), 815 ILCS 505/1, et seq. , Compl. ¶¶ 52-57, along with

warranty and common law claims, Compl. ¶¶ 58-72, on behalf of a proposed class of similarly

situated Illinois consumers who purchased the “Golden Butter” crackers (the “Product”). Compl.

¶ 45. Plaintiff seeks monetary and injunctive relief, expenses, and reasonable attorneys’ fees.

Compl. at 10; Prayer for Relief, Compl. ¶¶ 2-5.

       Defendant argues that the claims should be dismissed because they are not plausible. See

Defendant’s Memorandum of Law in Support of Motion to Dismiss (“Def. Mem.”). Defendant’s

Motion should be denied.

                                  FACTUAL BACKGROUND

       Defendant describes a variety of its crackers with the unqualified statement, “Golden

Butter.” However, the addition of vegetable oils renders this representation misleading. Plaintiff

expected that the Product would use butter wherever butter could be used, instead of butter

substitutes in the form of vegetable oils. Compl. ¶¶ 11, 72.

       Had Plaintiff known the crackers contained a non-de minimis amount of vegetable oils, she

would not have bought them or would have paid less. Compl. ¶ 30. As a result of this misleading

labeling, the Product is sold at a premium price, as compared to similar competing products

represented in a non-misleading way. Compl. ¶ 31.
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                                      LEGAL STANDARDS

          To survive a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6), a

complaint must “state a claim to relief that is plausible on its face.” Roberts v. City of Chicago,

817 F.3d 561, 564 (7th Cir. 2016) quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007).

          “A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

          A complaint must be construed “in the light most favorable to the plaintiff, accepting as

true all well-pleaded facts alleged, and drawing all possible inferences in her favor.” Tamayo v.

Blagojevich, 526 F.3d 1074 (7th Cir. 2008).

          When deciding a motion to dismiss, the Court must accept all well-pleaded allegations as

true and draw all reasonable inferences in favor of the pleader. Hishon v. King, 467 U.S. 69, 73

(1984).

          “Rule 12(b)(6) does not countenance…dismissals based on a judge’s disbelief of a

complaint’s factual allegations.” Twombly, 550 U.S. at 556. “[A] plaintiff [need only] plead

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Iqbal, 556 U.S. at 678.

                                           ARGUMENT

I.        EXPECTING BUTTER INSTEAD OF BUTTER SUBSTITUTES IS NOT
          FANCIFUL OR UNREASONABLE

          To demonstrate a “deceptive act or practice” under the ICFA, a plaintiff must “allege

conduct that plausibly could deceive a reasonable consumer.” Phillips v. DePaul Univ., 19 N.E.3d

1019, 1031 (Ill. App. Ct. 2014). “[A] statement is deceptive if it creates a likelihood of deception




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or has the capacity to deceive.” Freeman v. MAM USA Corp., 528 F. Supp. 3d 849, 862 (N.D. Ill.

2021).

         The “allegedly deceptive act must be looked upon in light of the totality of the information

made available to the plaintiff.” Davis v. G.N. Mortg. Corp., 396 F.3d 869, 884 (7th Cir. 2005);

United States Sec. & Exch. Comm'n v. Winemaster, No. 19-cv-04843, 2021 WL 1172773, at *16

(N.D. Ill. Mar. 29, 2021) (“Whether a misstatement is material is “an inherently fact-specific

finding.”).

     A.       Defendant’s Reliance on In re 100% Grated Parmesan Cheese is Misplaced

         Defendant relies heavily on other cases involving butter, where courts found the ingredient

list cured any potential confusion. Def. Mem. at 11-12 citing Sarr v. BEF Foods, No. 18-cv-6409

(ARR), 2020 WL 729883, at *7 (E.D.N.Y. Feb. 13, 2020)                and Reyes v. Crystal Farms

Refrigerated Distrib. Co., No. 18-cv-2250 (NGG) (RML), 2019 WL 3409883, at *5 (E.D.N.Y.

July 26, 2019); but see Berger v. MFI Holding Corporation, No. 17-cv-06728 (E.D.N.Y. Apr. 3,

2019) (refusing to dismiss plaintiff’s claims that “made with real butter” and “fresh potatoes” were

deceptive because mashed potatoes contained less butter than margarine)

         Sarr and Reyes based their decisions on an “ambiguity rule,” in a case regarding 100%

grated Parmesan Cheese. See In re 100% Grated Parmesan Cheese Mktg. & Sales Practices Litig.,

275 F. Supp. 3d 910, 922 (N.D. Ill. 2017) (where elements of a label were misleading in isolation,

“but an ingredient label…would dispel any confusion, the crucial issue is whether the misleading

content is ambiguous; if so, context can cure the ambiguity and defeat the claim.”)

         There, the court concluded as a matter of law that “100% Parmesan Cheese” would not

deceive consumers because a shelf-stable cheese would cause consumers to “investigate,” thereby

discovering added cellulose in ingredients. In re 100% Grated Parmesan Cheese Mktg. & Sales

Practices Litig., 275 F. Supp. 3d at 922.


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       This “ambiguity rule” was adopted widely by courts to support dismissal of false

advertising actions. See, e.g., Davis v. Hain Celestial Grp. Inc., 297 F. Supp. 3d 327 (E.D.N.Y.

2018) (citing 100% Grated Parmesan Cheese and asking “whether the misleading element is

ambiguous. If so, the clarification can defeat the claim.”); Reyes, 2019 WL 3409883, at * 5

(quoting Davis citing In re 100% Grated Parmesan Cheese, and asking, “whether the misleading

element is ambiguous. If so, the clarification can defeat the claim.”); Sarr, 2020 WL 729883, at

*7 (quoting Reyes quoting Davis citing In re 100% Grated Parmesan Cheese, and finding in the

event of ambiguity, “clarification can defeat the claim.”).

       The Seventh Circuit reversed In re 100% Grated Parmesan Cheese, and reiterated that

“[C]onsumer-protection laws do not impose on average consumers an obligation to question the

labels they see and to parse them as lawyers might for ambiguities, especially in the seconds

usually spent picking a low-cost product.” Bell v. Publix Super Markets, Inc., 982 F.3d 468, 476

(7th Cir. 2020).

       Bell recognized that deceptive advertisements “use ambiguity to mislead consumers while

maintaining some level of deniability about the intended meaning,” and “a rule that immunized

any ambiguous label so long as it is susceptible to one non-deceptive interpretation ‘would validate

highly deceptive advertising.’” Bell, 982 F.3d at 477quoting Mantikas v. Kellogg Co., 910 F.3d

633, 638-39 (2d Cir. 2018) (reversing district court and concluding that “Whole Grain” statement

on front label could mislead consumers, who were not required to scrutinize the ingredient list).

     B.      Defendant’s Arguments are Insufficient to Disregard Bell

       Defendant goes to great lengths to overcome Bell, describing Plaintiff’s expectations as

“fanciful,” “unreasonable,” a “factually bankrupt,” and “legally insufficient.” Def. Mem. at 13.

For several reasons, its arguments are contrary to the pleading standard.




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            1.    The Use of Butter Substitutes is Not Expected Where Label Contains No
                  Qualifications

         Defendant attempts to distinguish its “butter crackers” from the reasoning applied by the

Seventh Circuit, because “the product in Bell was labeled as ‘100% Grated Parmesan Cheese,’

when it fact in contained other ingredients.” Def. Mem. at 13 (“[T]he packaging here contains no

such qualifier suggesting exclusivity or proportions of butter”) citing Bell, 982 F.3d at 476-77.

         This conflicts with Plaintiff’s allegations, which state “the absence of any qualification of

‘Golden Butter’” on the front label tells consumers that “[W]herever butter could be

used…consumers will expect butter instead of its synthetic substitutes, vegetable oils.” Compl. ¶¶

4, 11.

         This “omission [or concealment] of material facts [can] constitute[s] the ‘deceptive act or

practice’ that cause[d] ‘actual damage to the plaintiff.’” Jamison v. Summer Infant (USA), Inc.,

778 F. Supp. 2d 900, 911 (N.D. Ill. 2011) citing 815 ILCS 505/2.

            2.    Bell’s Application was Not Limited to “Single Ingredient Foods”

         Next, Defendant seeks to restrict Bell to “a single-ingredient food (as was the Parmesan

cheese [in Bell]) or a singular-type food.” Def. Mem. at 13. However, the Seventh Circuit did not

limit its holding to “single-ingredient food[s],” or products described as “100%             .”

         In attempting to distinguish these facts from Bell, Defendant states there “is no rule or

common understanding that butter crackers may not have oil as an ingredient, [because] plenty of

butter cracker recipes include oil.” Def. Mem. at 13 citing multiple websites.

         Merely because “plenty” of people from the internet call something a “butter cracker” when

it uses butter substitutes in place of butter is insufficient to disrupt the pleading standard, which

requires the Court to “ask whether the plaintiff's interpretation of a statement is facially

implausible, not whether the statement is ‘clearly’ enough misleading.” Bell, 982 F.3d at 494.



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        The parties agree that “a ‘butter cracker’ is a type of cracker, and that ‘butter’ is its defining

feature.” Compl. ¶ 2. However, Plaintiff’s expectation that a “butter cracker” describe “a cracker

which is all or predominantly made with butter” is hardly an “unreasonable or fanciful

interpretation of [a] label[s],” of the type contemplated by Bell. Compl. ¶ 3; Def. Mem. at 13.

        According to Viktor Smith, a Danish Professor who has written widely on taxonomy of

food naming conventions, while “butter [crackers]…should objectively contain butter,” this

definition is based on the incorrect assumptions that (1) “the meaning of the whole must

necessarily be a function of its parts, and (2) that there is only one ‘objective’ and ‘correct’ way of

interpreting the relation between the name’s constituents.”1

        Current “theory and experimental evidence on the semantics and processing of complex

lexical expressions call for certain modifications to these common-sense assumptions,” because

“[I]t is [thus] widely recognized that ‘2 + 2 does not equal 4’ in a compound.” The result is that “it

takes more than just containing butter for a [cracker] to be recognized as, and conventionally

called, a butter [cracker].”

        Smith offers a description of how “the noun-noun relation will merely give rise to meta-

linguistic reflections and expression-based connotations on the part of the hearer.”




1
 Viktor Smith, "What’s in a (food) name? From consumer protection to cognitive science–and back." H. W.
Micklitz, et al. (Eds.) (2010). New Challenges for the Assessment of Fairness in a Common Market. European
University Institute. EUI Working Papers Vol. LAW 2010 No. 21 (Smith uses an example of a “butter cookie”).


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       Thus, whether the crackers contain only butter as the fat ingredient is not implausible, as

Defendant suggests.

          3.     Expecting Butter Instead of Butter Substitutes is Not Fanciful

       In seeking to characterize the allegations as “fanciful,” Defendant states that “a cracker

could not be ‘100% butter,’” and such a suggestion “defies both food science and common sense”

because it is “unreasonable or fanciful.” Def. Mem. at 13 citing Bell, 982 F.3d at 478, 493 (“a label

is not deceptive as a matter of law when the plaintiff's interpretation is so facially illogical,

implausible, or fanciful that no reasonable consumer would think it”). This argument fails for

multiple reasons.

       First, this is a thinly-veiled attempt to caricature Plaintiff’s argument and ignore the

allegations, which described “a ‘butter cracker’ [a]s a type of cracker,” and the “fat content” of a

cracker can be supplied by butter or butter substitutes. Compl. ¶¶ 2, 12-13 (emphasis added).

       Second, there is no technological or other barrier to make a cracker that gets its fat content

from butter instead of vegetable oils. Unlike other inconceivable products, i.e., “unrefined sugar,”

“‘Butter crackers’ which are made only with butter and not vegetable oils exist in the marketplace

and are technologically feasible.” Compl. ¶¶ 24-25; see Ibarrola v. Kind, LLC, 83 F. Supp. 3d 751

(N.D. Ill. 2015) (dismissing allegations as implausible because “unrefined” was not


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technologically and digestibly possible); see also Grabowski v. Dunkin' Brands, Inc., No. 17-cv-

5069, 2017 WL 6059966, at *2 (N.D. Ill. Dec. 7, 2017) (“products that do contain real blueberries

are sold side by side with products that contain the fake blueberries, which could further add to

consumer confusion.”).

       Third, “if a plaintiff's interpretation of a challenged statement is not facially illogical,

implausible, or fanciful, then a court may not conclude that it is nondeceptive as a matter of law.”

Bell, 982 F.3d at 493. Examples of these facts include a belief “that the colorful rings and balls of

cereal shown on ‘Froot Loops’ and ‘Cap'n Crunch’ boxes promised real fruit within,” “Original”

and “Classic” versions of ice cream were healthier than competitor products, and expecting

crackers to contain fresh vegetables. Bell, 982 F.3d at 478 citing See McKinnis v. Kellogg USA,

No. 07-cv-2611, 2007 WL 4766060, at *4 (C.D. Cal. Sept. 19, 2007) (“Froot Loops”); Werbel v.

Pepsico, Inc., No. 09-cv-4456, 2010 WL 2673860, at *3 (N.D. Cal. July 2, 2010) (“Cap'n

Crunch”); Carrea v. Dreyer’s Grand Ice Cream, Inc., 475 F. App’x 113, 115 (9th Cir. 2012) ("It

is implausible that a reasonable consumer would interpret `Original Sundae Cone,' `Original

Vanilla,' and `Classic,' to imply that Drumstick [variety] is more wholesome or nutritious than

competing products."); Red v. Kraft Foods, Inc., No. 10-cv-1028, 2012 WL 5504011, at *3 (C.D.

Cal. Oct.25, 2012) (“made with real vegetables” not misleading because a cracker is made from

wheat); Forouzesh v. Starbucks Corp., 714 F. App’x 776, 777 (9th Cir. 2018) ("The statutory

claims fail as a matter of law because no reasonable consumer would think ... that a 12-ounce `iced'

drink, such as iced coffee or iced tea, contains 12 ounces of coffee or tea and no ice.").

     C.      Defendant’s Reliance on Kamara Fails to Overcome Bell

       Following submission of its Motion, Defendant submitted a recent decision in which

another district court concluded that the description, “Golden Butter [Crackers]” would not

mislead consumers. Kamara v. Pepperidge Farm, Inc., No. 20-cv-9012 (PKC), 2021 WL 5234882,


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at *4 (S.D.N.Y. Nov. 9, 2021). However, the Kamara court relied on substantially the same

authority Defendant urges this Court to rely on. Kamara, , 2021 WL 5234882, at *4 citing Reyes,

2019 WL 3409883, at * 5; Sarr, 2020 WL 729883, at *7 . Additionally, the Kamara court cited to

another recent case which revived the “ambiguity rule.” Boswell v. Bimbo Bakeries USA, Inc., No.

20-cv-8923 (JMF), 2021 WL 5144552, at *2 (S.D.N.Y. Nov. 4, 2021) citing In re 100% Grated

Parmesan Cheese.

       The court in Boswell found that there are two types of false advertising cases - where a

“prominent label that is unambiguous and misleading; and second, packaging with a prominent

label that is ambiguous, but the ambiguity is resolved by reference to the list of ingredients or a

Nutrition Facts panel.” This reliance on the ingredient list was what Bell addressed, which is why

this Court need not rely on Kamara or Boswell.

II.    PLAINTIFF’S WARRANTY CLAIMS SATISFY THE ELEMENTS

       Defendant asserts that Plaintiff’s claims for breach of the express and implied warranty,

and Magnuson Moss Warranty Act (“MMWA”), 15 U.S.C. §§ 2301, are deficient “for the same

reason that plaintiff’s ICFA claims fail,” in addition to an absence of notice and privity. Def. Mem.

at 16-18 citing Spector v. Mondelēz Int’l, Inc., 178 F. Supp. 3d 657, 674 (N.D. Ill. 2016).

      A.     Defendant’s Reliance on Purported Absence of Notice is Insufficient

       Defendant’s argument based on a purported failure of Plaintiff to provide notice is likewise

insufficient to dismiss the express and implied warranty claims. Def. Mem. at 22 citing Ibarrola,

83 F. Supp. 3d at 760 (express warranty); Anthony v. Country Life Mfg, LLC, 70 F. App'x 379, 384

(7th Cir. 2003) (implied warranty).

       First, 810 ILCS 5/2-607(3)(a) requires that “a buyer must within a reasonable time after he

discovers or should have discovered any breach notify the seller of the breach or be barred from

any remedy.” Plaintiff alleged she purchased the Product “on multiple occasions during 2019 and


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2020,” and notified Defendant of the breach in May 2021, “a reasonable time after,” through the

filing of this action. Compl. ¶ 41; In re Bridgestone/Firestone, Inc. Tires Products, 155 F. Supp.

2d 1069 (S.D. Ind. 2001) (holding that notice can be satisfied by filing of suit).

       Second, Defendant had actual knowledge of the Product’s composition, and “admit[ted]

knowledge of the alleged defect” in its motion, by conceding that it contains “other [butter

substitute] ingredients, including vegetable oil.” Def. Mem. at 8; see Abramov v. Home Depot,

Inc., No. 17-cv-1860, 2018 WL 1252105, at *4 (N.D. Ill. Mar. 12, 2018) (finding that plaintiff

"was not required to provide pre-litigation notice of his warranty claims" where the defendant

acknowledged “that its four-by-fours were not 4"×4"”); Fuchs v. Menard, Inc., No. 17-cv-01752,

2017 WL 4339821, at *6 (Sept. 29, 2017) (finding notice where a party “had actual knowledge of

its own labeling practices.”).

     B.      Plaintiff Satisfied the Direct-Dealing Exception to Vertical Privity

       Defendant’s reliance on a purported absence of privity being fatal to Plaintiff’s express and

implied warranty claims is incomplete. Def. Mem. at 17. First, the “the fact-intensive nature” of

whether privity exists between parties “is often ‘not appropriate at the motion-to-dismiss stage.’”

Elward v. Electrolux Home Prod., Inc., 214 F. Supp. 3d 701, 705 (N.D. Ill. 2016).

       Second, Plaintiff plausibly alleged that Defendant’s marketing to remote consumers

through the Product’s name, “Golden Butter,” “more enticing to consumers” than “butter and

vegetable oil,” because “[C]onsumers prefer butter to chemically produced ‘vegetable’ oils,” is

sufficiently direct to satisfy the exception to strict privity. Compl. ¶¶ 6, 26; see In re Rust-Oleum

Restore Mktg., Sales Pracs. & Prod. Liab. Litig., 155 F. Supp. 3d 772, 807 (N.D. Ill. 2016) (finding

exception to vertical privity where defendant’s “direct marketing campaign to consumers” induced

their reliance); see also Rhodes v. Pharmacal Co. v. Continental Can Co., 72 Ill.App.2d 362, 219

N.E.2d 726 (1st Dist. 1966).


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     C.      The “Butter” Representation Warrants the Presence of Butter and Not Butter
             Substitutes

       Defendant argues the express warranty claim fails because “the statements to which

plaintiff points are, as the ingredient list confirms, absolutely true,” because “the product consists

of butter crackers…made with butter as an ingredient.” Def. Mem. at 17 citing MacNeil Auto.

Prods. Ltd. v. Cannon Auto. Ltd., 715 F. Supp. 2d 786, 794-95 (N.D. Ill. 2010).

       This position contradicts the Complaint’s allegations, which characterize “[Golden]

Butter” as a false “affirmation[s] of fact,” because consumers will “expect butter instead of its

synthetic substitutes, vegetable oils.” Compl. ¶ 4; 810 ILCS 5/2-313(1)(a).

     D.      Implied Warranty Claim is Viable because Product was Not Fit for Purpose as
             Cracker Made Without Butter Substitutes

       Defendant argues the implied warranty of merchantability claim is lacking because

Plaintiff “has not alleged facts to demonstrate the product is unfit to be consumed, its ordinary

purpose.” Def. Mem. at 17 citing Thorner v. Fleetwood, No. 00-cv-1012, 2002 WL 1998285, at

*1 (N.D. Ill. Aug. 28, 2002).

       However, the “ordinary purpose” of the Product is as a cracker “made only with butter and

not vegetable oils,” and the presence of “a non-de minimis amount of butter substitutes – vegetable

oils,” rendered it unfit for this purpose. Compl. ¶¶ 10, 24; Oggi Trattoria and Caffe, Ltd. v. Isuzu

Motors Am., Inc., 865 N.E.2d 334, 340 (Ill. App. Ct. 2007) (finding a product must be “fit for the

ordinary purposes for which such goods are used.”); 810 ILCS 5/2-314(2)(c),(e).

     E.      The MMWA Claim is Sufficient because it is Based on the Plausible Express and
             Implied Warranty Claims

       Defendant’s position – that the “MMWA does not apply” because “Golden Butter” did not

promise a product will be “defect free or will meet a specified level of performance over a specified

period of time” is misplaced. Def. Mem. at 17-18 citing 15 U.S.C. § 2301(6).



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          However, this overlooks that the “added vegetable oils detract from their taste and push

the butter taste to the background,” a prime example of a defect sufficient under this statute.

Compl. ¶ 23; Bonahoom v. Staples, Inc., No. 20-cv-1942, 2021 WL 1020986 at *8 (N.D. Ill. Mar.

17, 2021) (finding MMWA requirements similar to express warranty).

III.      COMMON LAW CLAIMS ARE ADEQUATELY PLED

       A.      Negligent Misrepresentation Claim is Viable

          Defendant contends that since Plaintiff “has failed to identify a false representation,” the

negligent misrepresentation cannot succeed. Def. Mem. at 12 citing Tricontinental Indus., Ltd. v.

PricewaterhouseCoopers, LLP, 475 F.3d 824, 833- 34 (7th Cir. 2007). This disregards that the

Complaint alleges the Product’s name is false, because “consumers will expect butter instead of

its synthetic substitutes, vegetable oils.” Compl. ¶ 4.

          Further, Plaintiff satisfies an exception to the economic loss rule, because Defendant held

“itself out as having special knowledge and experience this area [as] a trusted seller of baked

goods.” Def. Mem. at 18 citing Manley v. Hain Celestial Group, Inc., 417 F. Supp. 3d 1114, 1125

(N.D. Ill. 2019); compare with Compl. ¶¶ 66; see Congregation of the Passion, Holy Cross

Province v. Touche Ross & Co., 159 Ill.2d 137, 201 Ill. Dec. 71, 636 N.E.2d 503, 515 (1994) citing

Moorman Manufacturing Co. v. National Tank Co., 91 Ill.2d 69, 61 Ill. 746, 435 N.E.2d 443, 453

(1982).

       B.      The Complaint Exceeds Particularity Requirements for Fraud

          Defendant argues that Plaintiff’s fraud claim is deficient because she only offers “[b]are

assertions of the state of mind required for the claim [in that case, bad faith] [without] subsidiary

facts.” Def. Mem. at 18 quoting Yeftich v. Navistar, Inc., 722 F.3d 911, 916 (7th Cir. 2013).

          This misstates the facts, because Plaintiff “adequately alleges the ‘who, what, where, when,

and how’ of the alleged fraud, sufficient to satisfy Rule 9(b).” Ferris Mfg. Corp. v. Carr, No. 14-


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cv-04663, 2015 WL 279355, at *6 (N.D. Ill. Jan. 21, 2015). The “who” is Pepperidge Farm.

Compl. ¶ 1. The “what” includes the statement of “Golden Butter” and omission of butter

substitutes. Compl. ¶ 4. The “where” and “when” was at “Schnucks, 2222 Troy Rd, Edwardsville,

IL 62025, on multiple occasions during 2019 and 2020.” Compl. ¶ 41. The “how” involved the

use of vegetable oils instead of butter. Compl. ¶ 13.

        These facts satisfy Fed. R. Civ. P. 9(b), “although the exact level of particularity that is

required will necessarily differ based on the facts of the case.” Anchor Bank, FSB v. Hofer, 649

F.3d 610, 614 (7th Cir. 2011).2

      C.       Unjust Enrichment is Permitted because ICFA Claim is Viable

        Defendant is correct that Plaintiff’s claim of unjust enrichment “is predicated on the same

allegations of deceptive advertising as Plaintiff’s ICFA and breach of express warranty claims,”

which is why the “fundamental principles of justice, equity and good conscience” require denial

of Defendant’s request. Def. Mem. at 18-19 quoting Spector, 178 F. Supp. 3d at 674. Since Plaintiff

has stated a claim under the ICFA, her unjust enrichment claim survives as well. Compl. ¶¶ 53-57,

72.

IV.     PLAINTIFF HAS STANDING TO SEEK INJUNCTIVE RELIEF

        Defendant’s argument for dismissal of Plaintiff’s request for injunctive relief is contrary to

the instant facts and legal authority. Def. Mem. at 19 citing Camasta v. Jos. A. Bank Clothiers,

Inc., 761 F.3d 732, 741 (7th Cir. 2014).

        That Plaintiff “cannot seek injunctive relief [because she is] are aware of a deceptive

practice,” “leads to anomalous results.” Le v. Kohls Department Stores, Inc., 160 F. Supp. 3d 1096,



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 Defendant’s argument would seemingly require the “talismanic practice of repeating and realleging facts in each
count,” an outdated and unnecessary habit. Gidi, Antonio, Incorporation by Reference: Requiem for a Useless
Tradition (February 22, 2019). 70 Hastings L.J. 989 (2019).


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1109 (E.D. Wis. 2016). As the court in Le pointed out, the plaintiff in Camasta “had merely put

forth the bare assertion that ‘there [wa]s a substantial danger that these wrongful retail practices

w[ould] continue.’” Le, 160 F. Supp. 3d at 1111 citing Camasta v. Jos. A Bank Clothiers, Inc., No.

12-cv-7782, 2013 WL 474509, at *6 (N.D. Ill. Feb. 7, 2013).

       In contrast, Plaintiff “intends to, seeks to, and will purchase the Product again when she

can do so with the assurance that Product’s representations about its components and ingredients

are consistent with its representations.” Compl. ¶ 44. This constitutes an imminent threat of future

harm sufficient to satisfy Article III’s injury-in-fact requirement. Friends of the Earth, Inc. v.

Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 181–85 (2000).

       Plaintiff’s allegations of continuing harm are not based on conjecture, “because the

practices continue.” Compl. ¶ 52; see Muir v. NBTY, Inc., No. 15-cv-9835, 2016 WL 5234596, at

*10 (N.D. Ill. Sept. 22, 2016) (holding that a plaintiff in a consumer products class action could

seek injunctive relief where the plaintiff was able to show that the defendant’s fraudulent conduct

was ongoing).

       The ongoing harm exception for injunctive relief exists because Defendant’s failure to

inform consumers that the Product contains butter substitutes where butter could be used is based

on the uniform disregard of state requirements that the representations not be misleading. Compl.

¶¶ 1, 10; Schirmer v. Nagode, 621 F.3d 581, 588 (7th Cir. 2010) (acknowledging that if the

challenged conduct was the result of a “policy or custom of misapplying local ordinances against

disfavored speech,” plaintiffs would have standing).

       Finally, even if Plaintiff is unlikely to purchase a product again, she can maintain standing

for injunctive relief. Leiner v. Johnson & Johnson Consumer Companies, 215 F. Supp. 3d 670,

673 (N.D. Ill. 2016) citing Arreola v. Godinez, 546 F.3d 788, 791, 795 (7th Cir. 2008).




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                                         CONCLUSION

         For the foregoing reasons, the Court should deny Defendant’s Motion to Dismiss or in the

alternative grant leave to file an Amended Complaint.

Dated:     November 24, 2021
                                                        Respectfully submitted,

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                                     Certificate of Service

I certify that on November 24, 2021, I served and/or transmitted the foregoing by the method below
to the persons or entities indicated, at their last known address of record (blank where not
applicable).

                                   CM/ECF           First-Class        Email            Fax
                                                       Mail
 Defendant’s Counsel                  ☒                  ☐               ☐               ☐
 Plaintiff’s Counsel                  ☒                  ☐               ☐               ☐
 Courtesy Copy to Court               ☐                  ☐               ☐               ☐


                                                          /s/ Spencer Sheehan
